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UNITED STATES DISTRICT COURT SLERI U.S,
SOUTHERN DISTRICT OF FLORIDA L
MIAMI DIVISION

27-1910
~  CIV-LENARD

Magistrate Judge :WAGISTRATE JUDGE
— puBB

DOUGLAS LEESE,
Plaintiff,
Vv.

LADY GRANCHESTER, JAMES
SUENSON-TAYLOR, JOHN MOORES,
JOHN D. NETTLETON, LEONARD
WAILING VAN GEEST, NETWORK
SECURITY MANAGEMENT LIMITED,
JAMES J. RAPP a/k/a DANIEL
PEEL, CHRISTOPHER MORE,
COMMERCIAL DATA SERVICES
LIMITED, WINTER INFORMATION
NETWORK CORP., ACTION
AUTOLINE, INC. d/b/a ACTION
RESEARCH GROUP, BROWN AND
ASSOCIATES, INC., ROBERT
BROWN, ALISTAIR BROWN, and
BERMUDA RESEARCH SERVICES
LIMITED,

COMPLAINT

Defendants.

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Plaintiff, DOUGLAS LEESE (“Leese”), by his attorneys,
Jaroslawicz & Jaros, for his Complaint herein alleges on
knowledge as to himself, and otherwise on information and

belief, as follows:
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NATURE OF THE ACTION

1. This is an action for damages brought by an
international businessman who resides in Miami Beach,
Florida, against a group of individuals, corporations and
their agents who have engaged in a series of deliberate,
malicious and tortious conduct in Florida and elsewhere
designed to cause and causing plaintiff great economic and
reputational losses. As part of their concerted campaign to
harm plaintiff, the defendants, among other things, stole
and converted highly confidential records and business
materials, Surreptitiously removed highly-sensitive and
confidential information from used typewriter ribbons,
illegally diverted telephone bills and records from a
telephone company and contacted persons identified in those
telephone records under false pretenses and by
misrepresentations in order to obtain and disseminate
adverse information about Plaintiff and others. Defendants’
actions, performed solely to gain an economic advantage for
themselves at the expense of plaintiff, constitute the torts
of conversion, invasion of privacy, tortious interference
with contracts and business Opportunities, and the crimes of
mail and wire fraud. In addition, defendants’ ongoing and
related activities in furtherance of their improper goals
constitute a “pattern of racketeering activity,” in

violation of the Racketeer Influenced and Corrupt
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Organizations Act (“RICO”), 18 U.S.C. § 1962(c); a “pattern
of criminal activity,” in violation of the Florida Civil
Remedies for Criminal Practices Act, Fla. Stat. ch. 772; and
conspiracy, in violation of both 18 U.S.c. § 1962(d) and
Fla. Stat. § 772.103(4).

JURISDICTION AND VENUE

2. This Court has jurisdiction over this matter
pursuant to 18 U.S.C. § 1964, 28 U.S.C. § 1332 and 28 U.S.C.
§ 1367.

3. Jurisdiction is proper in the State of Florida as
to all the defendants pursuant to Florida Statute 48.193,
which provides for jurisdiction against persons who perform
tortious acts in the State of Florida either directly or
through an agent, as these defendants did.

4. Venue is properly placed in this district pursuant
to 18 U.S.C. § 1965 and 28 U.S.c. $ 1391, since many of the
acts and transactions complained of took place in this
district, plaintiff is currently a resident of this
district, some of the defendants are residents of this
district, numerous witnesses are located in the vicinity of
the Southern District of Florida, all of the defendants
caused and/or performed illegal acts, directly or through
their agents, within this district and this district is the

most convenient place for the trial of this action.
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THE PARTIES

The Plaintiff — Douglas Leese

5. The plaintiff, Douglas Leese, is a citizen of St.
Vincent and a resident of Miami Beach, Florida.

6. For over twenty-five years, Leese has been engaged
in interstate and international commerce, working, among
other things, with and/or on behalf of major American
corporations such as Westinghouse, major American defense
contractors and multinational conglomerates in, among other
places, Europe, Singapore and other parts of the Far East.
The nature and extent of Leese’s activities, and his various
contacts around the world, involve highly-sensitive and
confidential information, some of which are believed to be
Classified by the Department of Defense and other agencies
of the United States Government.

The “Littlewoods” Defendants

7. The Littlewoods Organisation, ple (“TLO”) is a
major British corporation involved in operating gambling
parlors, department stores and various other enterprises
doing several billions dollars a year in business and
purchasing products on a world-wide basis, including in the
United States.

8. TLO is considered to be Britain’s largest

privately-held company, controlled by the Moores family.
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9. Since at least 1995, TLO has been embroiled in a
highly-publicized battle for control among its present and
former directors.

10. Defendant Lady Granchester (“Lady Granchester”) is
the daughter of the founder of TLO, Sir John Moores.

11. Lady Granchester was a member of the Board of
Directors of TLO and was a control person of TLO, together
with other members of her family.

12. Defendant James Suenson-Taylor (“Suenson-Taylor”)
is the son of Lady Granchester.

13.  Suenson-Taylor was a member of the Board of
Directors of TLO and was a control person of TLO, together
with other members of his family.

14. Defendant John Moores (“Moores”) is the brother of
Lady Granchester, and the son of the founder of TLO.

15. Moores is a member of the Board of Directors of
TLO and, together with others, is a person controlling the
acts of TLO.

16. Defendant John D. Nettleton (“Nettleton”) is a
member of the Board of Directors of TLO and a person
controlling the acts of TLO.

17. Defendant Leonard Waling Van Geest (“Van Geest”)
was the Chairman of TLO and a person controlling the acts of

TLO,.
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The “Private Investigator” Defendants

18. Defendant Network Security Management Limited
("Network Security"), is a British corporation doing
business directly and through agents in the United States.

19. Network Security is owned and controlled by a
major international bank known as Hambros, Inc.

20. Network Security purports to perform “undercover
investigative” work for various clients and performed work
for TLO and its directors, including the Littlewoods
Defendants.

21. Defendant Christopher More (“More”) is a private
investigator who does substantial business in the State of
Florida, and is believed to have a residence in Florida.

22. More is believed to be the president, shareholder
and controlling person of defendant Commercial Data Services
Limited (“Commercial Data”).

23. Commercial Data is a foreign corporation located
on the Isle of Jersey and did extensive work through More
and others in the State of Florida.

24. More and Commercial Data acted as the agents,
servants and representatives of Network Security and the
other defendants and performed work on behalf of TLO and its

directors, including the Littlewoods Defendants.
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25. Defendant James J. Rapp ("Rapp") resides in East
Logan, Utah, and works as a private investigator, sometimes
using various aliases, including the name “Daniel Peel.”

26. Defendant Winter Information Network Corp.
(“Winter Information”) is a Utah corporation operated by
Rapp.

27. Rapp and Winter Information acted as the agents,
servants and representatives of Network security, More, TLO
and its directors, including the Littlewoods Defendants.

28. More and Rapp were hired by Network Security
directly and performed work in the United States in
interstate commerce, including in the State of Florida.

29. Defendant Action Autoline, Inc. d/b/a Action
Research Group (“Action Research”), is a Florida corporation
located in Cooper City, Florida.

30. Winter Information performed work through Action
Research as agent, servant and representative of Network
Security, More, TLO and its directors, including the

Littlewoods Defendants.

31. Defendant Brown and Associates, Inc. (“Brown and
Associates”) is a Florida corporation located in Orlando,
Florida.

32. Defendant Robert Brown is believed to be the

principal and controlling person of Brown and Associates.
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33. Robert Brown and Brown and Associates performed
work as agents, servants and representatives of Network
Security, More, TLO and its directors, including the
Littlewoods Defendants.

34. Defendant Alistair Brown operates and controls the
defendant Bermuda Research Services Limited (“Bermuda
Research”), based in Bermuda.

35. Bermuda Research performed services in interstate
and international commerce.

36. Alistair Brown and Bermuda Research acted as
agents, servants and representatives of Network Security,
More, TLO and its directors, including the Littlewoods
Defendants.

FACTS COMMON TO ALL COUNTS

37. The actions performed by the Littlewoods
Defendants and the Private Investigator Defendants were
intended to have, and did have, consequences in interstate
commerce in the United States, including in the State of
Florida.

The Battle for Control of TLO

 

38. In or about 1995 and for a period prior thereto,
there was internal dissension at TLO and on its Board of
Directors, which resulted in a highly-publicized battle for

control of TLO.
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39. There was a chief executive on TLO’s Board by the
name of Barry Dale, who was dismissed by TLO on or about
March 23, 1995.

40. At or about the same time, another executive of
TLO, Mr. Prodip Guha, was also dismissed by TLO.

41. The ongoing battle for control of TLO, which has
involved all of the Littlewoods Defendants, has also
affected certain other former TLO executives such as Sir
Desmond Pitcher.

The Littlewoods Defendants’
Determination to Win At All Costs

42. As a consequence of the dispute between TLO and
its former executives and others, the Littlewoods Defendants
were determined to take any action possible to gain whatever
advantage they could, without regard to the legality of the
methods they employed.

43. In that vein, and among other things, TLO and the
Littlewoods Defendants hired Network Security to
“investigate” Barry Dale, including Dale’s relationship with
a company called Lorad, which has been described as a Far
Fastern trading company.

44. TLO alleged that Leese had a relationship with
Lorad and asserted that there may have been some
improprieties in the relationship between Mr. Dale and

arrangements reached between TLO and Lorad.
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The Private Investigators’

Illegal Acts and “Dirty Tricks” Against Leese

45. Network Security began its so-called
“investigation” of Leese, which involved what TLO’s own
employees have described as “Gestapo-like tactics,” and
included illegal and improper conduct either directly or
through its agents.

46. Network Security’s activities were pervasive and
without regard for their legal propriety. Indeed, former
directors and other employees of TLO have accused Network
Security of asking them outright to engage in illegal
actions (Exhibit "A," London Times article of April 16,
1995).

47. Network Security, acting at all times as the
agent, servant and representative of TLO and the Littlewoods
Defendants, and as their agent in fact, also proceeded to
hire, directly or indirectly, the remaining Private
Investigator Defendants to perform certain dirty tricks and
illegal acts, and to obtain and disseminate adverse and
other information concerning Leese through any means,
whether legal or not.

48. For example, Network Security, either directly or
indirectly, hired More and his organization, Commercial
Data, to perform certain tasks and obtain and disseminate

certain information concerning Leese.
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49. More in turn, and as agent for TLO, the
Littlewoods Defendants and Network security, then hired,
among others, Brown and Associates, and Robert Brown, to
obtain copies of Leese’s personal and company telephone
bills and confidential papers, and the telephone bills and
confidential papers of the entities with which Leese had any
relationship.

90. More has admitted under oath that the aforesaid
acts were accomplished in the United States of America
through his agents, whom he described as, among others,
Robert Brown and Brown and Associates.

S91. Among other things, in or about June 1995, the
defendants followed a deceptive scheme of obtaining the
telephone bills of Leese and his related business entities
from the Bermuda Telephone Company through a fraudulent and
illegal scheme.

92. Through methods of deception and fraudulent
misrepresentation, the exact details of which are not as yet
known, the defendants and their agents, including Rapp and
Winter Information, fraudulently induced the Bermuda
Telephone Company to fax them telephone bills of Leese
and/or a company called Drax Holdings Limited, with which
Leese is affiliated.

53. Investigations conducted by plaintiff’s

representatives indicate that Rapp a/k/a Daniel Peel and
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Winter Information made numerous telephone calls to Action
Research between April 26, 1995 and June 28, 1995.

54. The records of Rapp and Winter Information also
show that there were at least nine telephone calls to the
Bermuda Telephone Company placed by Rapp and Winter
Information, which calls were made for the purpose of
obtaining information concerning Leese or entities with
which Leese had a relationship.

55. Brown and Associates has admitted that it used
Action Research as an agent for the purpose of obtaining
information concerning plaintiff and his related business
entities.

56. Robert Brown, the principal of Brown and
Associates, has admitted to plaintiff’s representative that
he was instructed directly by More to obtain the telephone
records of Drax Holdings Limited pertaining to Leese and
that Brown then hired Action Research as his agent towards
that purpose.

57. The defendants were fully aware that their conduct
constituted fraud by wire in direct violation of 18 U.S.C.
§ 1343, which subjects a violator to a fine and imprisonment
of up to five years.

58. By check dated June 19, 1995, and sent via United

States mail, Action Research paid Winter Information,
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Network Security and Rapp the sum of $2,114 for their
services in improperly obtaining the Drax Holdings’
telephone records, which records they sought to use against
Leese.

599. The defendants have engaged in other dirty tricks
to sully the reputation of Leese and to obtain information
which they could use in litigation that TLO has brought
against Leese and/or in the litigations brought by TLO with
respect to Barry Dale and/or Prodip Guha.

60. Among other things, the Littlewoods Defendants and
their agents, particularly Bermuda Research and Alistair
Brown, removed private and confidential materials from
private property in Bermuda; surreptitiously took
information off typewriter ribbons and documents, and
otherwise wrongfully sought to obtain and disseminate
information concerning Leese and the business entities with
which he might be affiliated, which information was sought
to be secretly obtained and to be used against Leese or Dale
and Guha in litigation and/or to compel Leese to give in to

TLO’s demands.
The Damage to Leese
61. Leese was involved with various businesses and
highly confidential business enterprises including business
in the United States, some of which involved governmentally-

involved or other highly confidential business projects.
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62. The defendants have caused injury to Leese’s
projects and business dealings in the United States and
abroad by, among other things, obtaining confidential
information and contacting persons with whom Leese was
directly or indirectly involved in business relationships.

COUNT ONE
(AGAINST ALL DEFENDANTS)
VIOLATION OF RICO, 18 U.S.C. § 1962 (c)

63. Plaintiff hereby repeats, reiterates and realleges
each and every allegation contained in paragraphs of this
complaint numbered “1” through “62” inclusive, with the same
force and effect as if more fully set forth at length
herein.

The “Persons”

64. At all times, the Littlewoods Defendants and their
agents, the Private Investigator Defendants, were persons
within the meaning of 18 U.S.C. §§ 1963 and 1964(c).

The “Enterprise”

65. At all times, the Littlewoods Defendants and their
agents, the Private Investigator Defendants, were members
of, employed by or associated in fact with an enterprise
engaged in, or the activities of which affected, interstate
or international commerce within the meaning of 18 U.S.C.

§ 1961(4).
66. This enterprise includes the Littlewoods

Defendants, TLO and all persons and entities who shared the
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common purpose of seeking to achieve results in their
internal corporate battle with Sir Desmond Pitcher and
others, and/or their litigation with Barry Dale, Prodip Guha
and Leese, which litigation is still taking place in the
courts of Great Britain, and to obtain and disseminate
information illegally in order to obtain an unfair advantage
for TLO as against Dale, Guha and Leese.

67. The defendants both participated directly in
certain of the acts complained of herein in violation of 18
U.S.C. §§ 1341 and 1343, and aided, abetted, counseled or
induced the commission of acts by other persons associated
with the enterprise in violation of 18 U.S.C. §§ 1341, 1342
and 1343, in order to accomplish the common purpose of the
enterprise, and are responsible for the racketeering
activity of all the defendants who at all times acted in the
furtherance of the scheme against the plaintiff and others,
including Dale and Guha, who were victims of the defendants’
conduct.

The Improper and Illegal Acts Perpetrated by
the Defendants and Their Enterprise Against Leese

68. Commencing in late 1994 or early 1995, the exact
dates not being known to the plaintiff at this time, and
probably continuing until today, the defendants, being those
persons associated with and members of the enterprise herein

referred to, induced and caused the illegal diversion of
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telephone bills, private and confidential documents, and
other materials to the various Littlewoods Defendants and at
all times directly and indirectly conducted and participated
in the conduct of enterprise affairs with a pattern of
racketeering activity within the meaning of 18 U.S.c.

$ 1961(5) and 18 U.S.C. § 1962(c).

69. The defendants knowingly conducted and
participated in the conduct of the enterprise in a variety
of ways, including but not limited to:

(a) TLO and the Littlewoods Defendants caused to
be hired Network Security, Commercial Data, Rapp, Action
Research, Brown and Associates, Bermuda Research and others
as their agents for the purpose of engaging in illegal acts
and obtaining plaintiff’s confidential telephone records and
documents;

(b) The defendants, and specifically Brown and
Associates, Robert Brown and Action Research, agreed to
obtain telephone records from the Bermuda Telephone Company
through fraudulent misrepresentations made by mail and/or by
interstate and international wire;

(c) The defendants arranged for Bermuda Research
and Alistair Brown to wrongfully obtain confidential and
private documents and typewriter ribbons from private
property which plaintiff at all times intended to be

confidential, by misappropriating and converting them;
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(d) The defendants then contacted persons whose
identities were set forth in the confidential materials and
telephone records that were obtained by fraud and
misrepresentations, and sought to obtain and disseminate
adverse information concerning the plaintiff;

(e) The defendants otherwise acted in an improper
manner, violating the laws of the United States, the State
of Florida and other jurisdictions, in order to obtain and
disseminate or seek to obtain and disseminate detrimental
and adverse information concerning the plaintiff, Dale and
Guha, which the defendants then sought to use either in
litigation in England against these persons, or to coerce
these persons to follow TLO’s directives; and

(f£) Network Security and its agents sought to
intimidate certain persons and to bribe someone at
plaintiff's son’s place of business to turn over certain
confidential information concerning the plaintiff; Network
Security offered an employee at plaintiff's son’s place of
business a tape recorder so that the defendants could
secretly record the plaintiff’s son and obtain confidential
information concerning the plaintiff and others.

The Predicate Acts
70. All of the defendants knowingly conducted or
participated in the predicate acts perpetrated by the

enterprise in a variety of ways including, but not limited
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to, through the activities of Robert Brown, Action
Resources, Network Security, Winter Information, Rapp and
others, and their activities, which included misrepresenting
who they were, committing wire fraud in violation of 18
U.S.C. § 1343, committing mail fraud in violation of 18
U.S.C. § 1341, using fraudulent means in violation of 18
U.S.C. § 1342, and improperly obtaining and converting
confidential telephone records, documents and other
confidential materials belonging to Leese and some of his
business activities.

Mail Fraud

71. In furtherance of, and for the purpose of
promoting, executing or attempting to execute their scheme,
the defendants placed and caused to be placed in post
offices and authorized depositories for mall, materials
which were later caused to be delivered and caused to be
sent to and from the United States and within the United
States by the United States Postal Service, including checks
from one defendant to another; information that had been
wrongfully obtained was forwarded through the United States
Postal Service and/or international postal services; and the
use of such material in connection with the scheme
constitutes a specific violation of 18 U.S.C. § 1341 and 18

U.S.C. § 2.
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Wire Fraud

72. In furtherance of, and for the purpose of
executing and attempting to execute the aforesaid scheme and
artifice to illegally obtain and disseminate information
concerning the plaintiff and to extort a settlement from the
plaintiff in litigation in Great Britain, the defendants on
numerous occasions, transmitted and caused to be transmitted
writings, signs, signals and sounds by means of wire
communications in interstate, foreign and international
commerce. Each use of the wire communications in connection
with the described scheme and artifice constituted a
separate violation of 18 U.S.C. § 1343 or 1341.

73. The use of wire communications includes, but is
not limited to, the defendants’ agents, including Brown,
Winter Information, Rapp and Action Research, who would call
the Bermuda Telephone Company and seek to have the Bermuda
Telephone Company send the plaintiff’s telephone bills to
the defendants and their agents.

74, Commencing on April 1, 1995, Rapp a/k/a Daniel
Peel and Winter Information, as agents for the other

defendants, called at least the following telephone numbers:

(801) 755-0280 (801) 753-1474
(801) 755-3210 (801) 753-2188
(801) 755-6042 (801) 755-2129
(801) 755-8266 (801) 755-2178
(801) 755-9304 (801) 753-1146
(801) 755-9415 (801) 753-1879
(801) 753-0831
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The “Pattern of Racketeering Activity”

75. Commencing some time in early 1995 and apparently
continuing through today, the defendants repeatedly engaged
in a pattern of acts, directed at individuals and business
enterprises, including the plaintiff, which are indictable
under 18 U.S.C. § 1341, mail fraud; 18 U.S.C. § 1343, wire
fraud; 18 U.S.C. § 2, aiding and abetting; 18 U.S.C. § 1342,
providing a fictitious name or address, and other acts in
which the defendants engaged and which constitute
“racketeering activity” within the meaning of 18 U.S.C.

§ 1961 (1) (B).

76. The defendants’ repeated violations of 18 U.S.C.
§§ 1341, 13423 and 2 extended over a period of over one year,
and were neither isolated nor sporadic events; but rather
involved regular and repeated acts and violations to
accomplish the illegal purposes of the enterprise. These
acts were related to each other by virtue of (a) common
participants; (b) common victims; (c) common methods of
commission; and (d) the common purpose and common result of
obtaining and disseminating confidential information through
illegal and other means which could be used against the
plaintiff, Dale and Guha, any business entities they may

have been affiliated with, and others.
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17. The defendants’ repeated violations of 18 U.S.C.
§§ 1341, 1343 and 2 constitute a pattern of racketeering
activity within the meaning of 18 U.S.C. § 1961(5).

The Nature and Extent of Damages to Leese

78. As a direct and proximate result of the
defendants’ predicate acts and racketeering, which
activities constitute a pattern of racketeering activity,
and of the defendants’ participation in the enterprise in
violation of 18 U.S.C. § 1962(c), Leese was harmed in his
business activities; he was unable to conduct his business
in a proper manner; and he was otherwise damaged, all of
which constitute damages to business or property within the
meaning of i8 U.S.C. § 1964'c\, in an amount which will be
determined at trial, but which is now estimated to exceed

Twenty Million Dollars ($20,000,000).

COUNT TWO
(AGAINST ALL DEFENDANTS)
CONSPIRACY IN VIOLATION OF RICO, 18 U.S.C. § 1962 (d)

79, Plaintiff hereby repeats, reiterates and realleges
each and every allegation contained in paragraphs of this
complaint numbered “1” through “62” and “64" through “78"
inclusive, with the same force and effect as if more fully
set forth at length herein.

80. Defendants entered into agreements and conspired
to commit the predicate acts and other wrongful conduct

described herein.
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81. Defendants knew that their actions were unlawful
and part of a pattern of racketeering activity designed to
harm plaintiff.

82. Defendants’ conspiracy violates 18 U.S.C.

§ 1962(d), which makes it unlawful to conspire to violate 18
U.S.C. §§ 1962(a), (b), and (c).

83. As a direct and proximate result of the
defendants’ violation of 18 U.S.C. § 1962(d), Leese was
harmed in his business activities; he was unable to conduct
his business in a proper manner; and he was otherwise
damaged, in an amount which will be determined at trial, but
which is now estimated to exceed Twenty Million Dollars
($20,000,000).

COUNT THREE
(AGAINST ALL DEFENDANTS)
VIOLATION OF THE FLORIDA CIVIL REMEDIES
FOR CRIMINAL PRACTICES ACT, FLA. STAT. CH. 772

84. Plaintiff hereby repeats, reiterates and realleges
each and every allegation contained in paragraphs of this
complaint numbered “1” through “62” and “64" through “78"
inclusive, with the same force and effect as if more fully
set forth at length herein.

85. Defendants’ conduct, and their wrongful and
illegal association and activities designed to harm
plaintiff, constitute a violation of the Florida Civil

Remedies for Criminal Practices Act, Fla. Stat. ch. 772.
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86. As a direct and proximate result of the
defendants’ predicate acts, which activities constitute a
pattern of criminal activity, and of the defendants’
participation in the enterprise in violation of Fla. Stat.
ch. 772, Leese was harmed in his business activities; he was
unable to conduct his business in a proper manner; and he
was otherwise damaged, all of which constitute damages to
business or property within the meaning of the statute, in
an amount which will be determined at trial, but which is
now estimated to exceed Twenty Million Dollars
($20,000,000).

COUNT FOUR
(AGAINST ALL DEFENDANTS)

CONSPIRACY IN VIOLATION OF THE FLORIDA CIVIL REMEDIES
FOR CRIMINAL PRACTICES ACT, FLA. STAT. § 772.103(4)

87. Plaintiff hereby repeats, reiterates and realleges
each and every allegation contained in paragraphs of this
complaint numbered “1” through “62” and “64" through “78"
inclusive, with the same force and effect as if more fully
set forth at length herein.

88. Defendants entered into agreements, conspired and
endeavored to commit the predicate acts and other wrongful
conduct described herein.

89. Defendants knew that their actions were unlawful
and part of a pattern of criminal activity designed to harm

plaintiff.
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90. Defendants’ actions violate Fla. Stat.
§ 772.103(4), which makes it unlawful to conspire or
endeavor to violate Fla. Stat. §§ 772.103(1), (2) or (3).

91. As a direct and proximate result of the
defendants’ violation of Fla. Stat. § 772.103(4), Leese was
harmed in his business activities; he was unable to conduct
his business in a proper manner; and he was otherwise
damaged, in an amount which will be determined at trial, but
which is now estimated to exceed Twenty Million Dollars
($20,000,000).

COUNT FIVE
(AGAINST ALL DEFENDANTS)
INVASION OF PRIVACY

92. Plaintiff hereby repeats, reiterates and realleges
each and every allegation contained in paragraphs of this
complaint numbered “1” through “62" and “64" through “78”
inclusive, with the same force and effect as if more fully
set forth at length herein.

93. By wrongfully obtaining plaintiff's telephone
records, personal and business papers, and interfering with
plaintiff’s business without his knowledge or consent, the
defendants have willfully and deliberately interfered with
plaintiff’s right of privacy.

94. As a direct and proximate result of the foregoing,

plaintiff suffered damage to his business and reputation,

severe mental anguish and distress, and he has been
Case 1:97-cv-01910-JAL Document1 Entered on FLSD Docket 06/25/1997 Page 25 of 30

otherwise damaged in an amount to be determined at trial,
but which is now estimated to exceed Twenty Million
($20,000,000) Dollars.

95. As a result of the defendants’ willful, malicious,
fraudulent, oppressive, extreme and outrageous conduct,
plaintiff reserves the right to amend this complaint to seek
punitive damages upon appropriate showing.

COUNT SIX
(AGAINST ALL DEFENDANTS)
CONVERSION

96. Plaintiff hereby repeats, reiterates and realleges
each and every allegation contained in paragraphs of this
complaint numbered “1” through “62” and “o4" through “78”
inclusive, with the same force and effect as if more fully
set forth at length herein.

97. The defendants wrongfully converted to themselves
Leese’s records and private property, including telephone
numbers and business materials that were highly confidential
and which confidentiality Leese preserved.

98. Leese intended that these materials be extremely
confidential, and that they be shown to no one.

99. By misappropriating Leese’s information and
business opportunities, the defendants have converted
Leese’s property.

100. As a direct and proximate result of defendants’

activities, Leese has been damaged and is entitled to
Case 1:97-cv-01910-JAL Document1 Entered on FLSD Docket 06/25/1997 Page 26 of 30

recover actual damages in an amount to be determined at
trial but is now estimated to exceed Twenty Million
($20,000,000) Dollars.

101. As a result of the defendants’ willful, malicious,
fraudulent, oppressive, extreme and outrageous conduct,
plaintiff reserves the right to amend this complaint to seek
punitive damages upon appropriate showing.

COUNT SEVEN
(AGAINST ALL DEFENDANTS)
TORTIOUS INTERFERENCE

102. Plaintiff hereby repeats, reiterates and realleges
each and every allegation contained in paragraphs of this
complaint numbered “1” through “62” and “64" through “78”
inclusive, with the same force and effect as if more fully
set forth at length herein.

193. At all times, defendants had actual or
constructive knowledge of Leese’s business affairs, and the
existence of actual contracts, business and business
opportunities that would be threatened by their actions.

104. Defendants’ activities constitute tortious
interference with Leese’s contracts, business and business
opportunities.

105. Defendants’ activities were performed without
justification and solely with malice towards Leese.

106. As a result of the foregoing, Leese has been

damaged and is entitled to recover actual damages in an
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amount to be determined at trial but now estimated to exceed
Twenty Million ($20,000,000) Dollars.

107. As a result of the defendants’ willful, malicious,
fraudulent, oppressive, extreme and outrageous conduct,
plaintiff reserves the right to amend this complaint to seek
punitive damages upon appropriate showing.

JURY DEMAND

108. Plaintiff hereby demands a trial by jury of all

issues so triable.
WHEREFORE, plaintiff Leese demands judgment

against the defendants, both jointly and severally, as

follows:

COUNT ONE: an amount to be determined at trial but
in excess of Twenty Million Dollars
($20,000,000), trebled in accordance
with 18 U.S.C. § 1964;

COUNT TWO: an amount to be determined at trial but
in excess of Twenty Million Dollars
($20,000,000), trebled in accordance
with 18 U.S.C. § 1964;

COUNT THREE: an amount to be determined at trial but
in excess of Twenty Million Dollars
($20,000,000), trebled in accordance
with Fla. Stat. § 772.104;

COUNT FOUR: an amount to be determined at trial but
in excess of Twenty Million Dollars
($20,000,000), trebled in accordance
with Fla. Stat. § 772.104;

COUNT FIVE: an amount to be determined at trial but

in excess of Twenty Million Dollars
($20,000,000);
Case 1:97-cv-01910-JAL Document1 Entered on FLSD Docket 06/25/1997 Page 28 of 30

COUNT SIX: an amount to be determined at trial but

in excess of Twenty Million Dollars
($20,000,000);

COUNT SEVEN: an amount to be determined at trial but

in excess of Twenty Million Dollars
($20,000,000);

together with all costs, disbursements and reasonable
attorney’s fees; and for such other and further relief as to

the Court may seem just and proper.

JAROSLAWICZ & JAROS, ESOS.
Attorneys for Plaintiff

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New York, New York 10038

(212) 227-2780

Facsimile: (212) 732-6746

ac M. Jaroslawicz
—_— la. Bar No. 979510
Of Counsel
9540 Collins Avenue
Surfside, Florida 33154
(305) 864-5553
Facsimile: (305) 864-5645

- 28 -
 
  

was warned
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Gumshoes

FORMER DIRECTORS of
Littlewoods, Britain's biggest
private company, have accused
investigators, hired by the retail
group, of threatening behaviour
and asking them to undertake
*ittegal’” acts.

In correspondence seen by
The Sunday Times, one former
director claims he was asked to
tape and elicit information from
a secretary at another firm with
which Littlewoods was doing
business.

Directors have written to the
Moores family — the secretive

 

work Security Managemen
which is owned by Harnbros
Bank, the blue-chip City invest-

ment house,

Another manager wrote to
the then chief executive, Barry
Dale, complaining of an
*intcrrogation’” by Network’s
investigators.

Several employees have re-
signed in digust over their treat-
tment. The row seems certain to
deepen the management crisis
at Littlewoods, which has been
hit by high-level departures
and collapsing staff morale,

Lialewoods” own solicitors,
Alsop Wilkinson, are under-
stood to have warned the com-
pany earlier this year about the
methods that Network is said
to have sed. David Jacks, an

sop Wilkinson partner, be-
came concerned after speaking
to George McKillop, a Network

Exhibit "A"

4

tactics worried lawyer

 

Randeep Ramesh

 

director, who indicated that he
could obtain details of tele-
phone calls by paying a BT
employee. Jacks thought this
would be seen as an induce-
ment to the BT employee to
break his contract.

kt is understood that Alsop
‘Wilkinson has recently been re--
placed on some of Littlewoods’
cases by a Manchester legal
firm, Pannone Napier.
_, The latest accusations from
former staff centre on Net-
work’s and Littlewoods’ al-

leged ability to obtain copies of ©

BT and other telephone bills
which are then used as a basis
‘or interrogating dissident ex-
ecutives about whom they have
been calling and why.

Harry Thomas, Linlewoods”
press officer, refused to com-

ment on Network Security. °

Alsop Wilkinson said that
information was confidential:

The Network probe was
launched on inswuctions from
senior members of the Moores
family, apparently prompted
by a desire to regain conirol
from the mi ement. The
family has been helped by Jim
Michie, group finance director,
and Bob Willett, who first
brought in Network to investi-
gate staff in Litthewoods’
chain-store and mail-order di-
visions in May last year.

The farnily's actions have al-
ready led to the sacking of two
key directors and plunged the

= ! r

ing for Dale, said that his client

Case 1:97-cv-01910-JAL Document1 Entered on FLSD Docket 06/25/1997 Page 29 of 30

group into a Managetnent crisis.
Dale was dismissed as chief
executive last month and
Prodip Guha, his deputy, tast
October. Both had been inter-
Mais was jected to a fi
was su toa five.
hour grilling. and presented
with a dossiez compiled by pri-
vate detectives. He was asked
shout his pal finances and
use of company perks.
repeatedly told executives thar
all the bencfits he had received
were on the company records.
Ruben Berg, lawyer act-

had been dismissed ‘“‘without
explanation or justification.
Network appears to have
played 4 major pact in this’’.
ale is understood not to have
received any compensation,
The former chief executive's
iternised telephone bill was re-
directed to an address in south
Londons. Dele complained to
BT, which gaid that it ‘‘could
not understand how it had
PP ened’’, .
Sir Desmond Pitcher, chair-
man of North West Water and
a Litkewoods con-executive

 

| director, believes he may ajso!

have been targeted. Last month:
someone tel his office
and tied to obtain details of his
bank account.

Members of the Moores fam-
ily met last week to discuss the -
growing disquiet. Linlewoods |
is without a chief executive,
and many younger sharebolders
are growing anxious at the lack
of management.

 

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Case 1:97-cv-01910-JAL Document1 Entered on FLSD Docket 06/25/1997 Page 30 of 30

CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service
law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in

of pleading or other papers as required by
September 1974, is required for the use of

the Clerk of Court for the purpose of initiating the civil docket sheet. (GEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

| (a) PLAINTIFFS

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(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF D f Z
(EXCEPT IN U.S. PLAINTIFF CASES)

A LAbée ARV {Mog lane l2 Ld
(c) ATTORNEYS (FIRM NAME, ADDRESS, ANDO TELEPHONE NUMBER)
DAROSLA LIC 2 4AQS

DEFENDANTS 97 ” 1 9 1 0

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CIV-LENARD

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT 5 VRR
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
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MAGISTRATE JUDGE

ATTORNEYS (IF KNOWN)

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WARD, PALM BEACH, MARTIN, ST. LUCIE, INDIAN RIVER OKEECI
ill. CITIZENSHIP OF PRINCIPAL PARTIES

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HOBEE, HIGHEANDS=

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IV. CAUSE OF ACTION

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